                            The Law Offices of
                            Michael L. Lambert
                               369 Lexington Ave
                             2nd Floor, PMB#229
                            New York, NY, 10016
                               Ph: (917) 743-7071
                         Email: mariel.colon8@gmail.com


April 14, 2019


To Whom It May Concern,

We are writing to provide a letter of intent from El Chapo Guzman: JGL, LLC to start a
new clothing line that will be named “El Chapo Guzman: JGL”. The anticipated date of
opening is Summer 2019. Our DOS ID is 5478487. Our address is 369 Lexington Ave 2nd
floor PMB229 New York, NY 10016. I have attached a picture of a certificate of
existence from the State of New York as proof of our existence, as well as a link to a
newspaper article talking about our upcoming fashion line. The link is
https://www.cnn.com/2019/03/29/us/el-chapo-llc-drug-lords-name-to-be-licensed-for-
clothing-line/index.html

Please, feel free to contact me at 917-743-7071 if you need me to provide you with
additional information.

Thank you in advance for your kind assistance in this matter.


                                                 Respectfully submitted,

                                                        /s/Mariel Colón Miró, Esq.
                                                        MARIEL COLON MIRO, ESQ.
                                                        369 Lexington Ave. PMB 229
                                                        New York, NY 10016
                                                        (917) 743-7071

	
